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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                      April 26, 2021

Lisa Peebles, Assistant Federal Public Defender
Federal Public Defender for the Northern District of New York
4 Clinton Square, 3rd Floor
Syracuse, NY 13202
Via ECF

       Re:      United States v. James Bonet
                Case No. 21-CR-121 EGS

Dear Counsel:

       I will be sending you an additional item in preliminary discovery for this case: the search
warrant for James Bonet’s Facebook account. The search warrant is designated as “Sensitive”
under the protective order in this case.

       I will send this document to you via e-mail. Please note that, while the Court has
authorized me to provide this search warrant to you, it otherwise remains under seal.

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.
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        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,

                                                     /s/ Alexis Loeb

                                                     Alexis Loeb
                                                     Assistant United States Attorney
                                                     Detailee




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